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            EXHIBIT E
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                                                                                                          D. Christopher Robinson
                                                                                                                               Partner
                                                                                                                       502.568.0335 (t)
                                                                                                                       502.581.1087 (f)
                                                                                                                crobinson@fbtlaw.com




August 30, 2024

Edward Foye
Arrowood LLP
10 Post Office Square
7th Floor South
Boston, MA 02109

         Re:       Placeholder PO's - December 2024, January 2025,
                   February 2025, March 2025

Dear Mr. Foye:

         I am writing regarding the Placeholder Purchase Orders dated August 21, 2023 (PH-AGR-
24001-7068 and PH-AGR-24001-7067), subsequently modified on April 8, 2024, between Agrovana
and Prime Hydration LLC (collectively “Placeholder PO’s”). The Placeholder PO’s concern
quantities of Coconut Water Powder (“Product”) with delivery dates from September 2024 to March
2025. Pursuant to the terms of the Placeholder PO’s, Prime Hydration LLC hereby notifies Agrovana
that all Placeholder PO’s for quantities of Product with shipment dates after December 1, 2024 are
not confirmed, and Prime will not accept shipment of such Product. Prime reserves all rights under
applicable law, including the Uniform Commercial Code.

         Thank you for your attention to this matter.

                                                           Sincerely,



                                                           D. Christopher Robinson


DCR:dps



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